Case 1:21-cr-00451-WMR-JKL Document 112 Filed 01/27/22 Page 1 of 2
MAGISTRATE’S CRIMINAL MINUTES
ARRAIGNMENT

PLEA AND
SENTENCE

Filed in Open Court: Date: ilerl22 Tape: Loom at_ 10:24 Timein Court “1 mins

Magistrate (presiding):_Catherine M. Salinas Deputy Clerk Angela Smith
Case Number: 1: 21-@r- 45, - OMe Defendants Name: _ VikKas Mehta
AUSA: Elizabeth MeBath Defendant's Attorney:__ “Randy Chartash
USPO/PTR: Type Counsel: (/) Retained ( )CJA ( )FPD ( ) Waived
ARREST DATE;
INTERPRETER
INITIAL APPEARANCE HEARING. (_ ) in THIS DISTRICT Dit. In Custody? ( )Yes ( )No

Defendant advised of right to counsel. WAIVER OF COUNSEL filed.
ORDER appointing Federal Defender Program as counsel. () INITAAL APPEARANCE ONLY

______ ORDER appointing (State Bar of Ga. # ) as counsel.
_.._ORDER giving defendant days to employ counsel. (cc: serv. by Mag)
_____ Pft. to pay attorney fees as follows:
____ INFORMATION/COMPLAINT filed. WAIVER ON INDICTMENT filed.
iv Copy indictment/information given to dit? (4 Yes ( )No Read to dit? ( ) Yes (Ys No.
CONSENT TO TRIAL BEFORE MAGISTRATE (MISD/PETTY) offense filed.
_ “ARRAIGNMENT HELD. ( v superseding indictment/information.
_____ ARRAIGNMENT continued until at Request of( )Gvt (¢ )Dft
_____ Dit. fails to appear for arraignment. BENCH WARRANT ISSUED
ft. Dft. enters PLEA OF NOT GUILTY. (_ } Dft. stood mute plea of NOT GUILTY entered.
_____ MOTION TO CHANGE PLEA, and order allowing same.
____ PLEA OF GUILTY/NOLO as to counts
____. Petition to enter plea of GUILTY/NOLO filed.
____— NEGOTIATED PLEA between Government and defendant filed.
____ ASSIGNED TO JUDGE Rey for: ( ) trial( } arraignment/sentence.
____ ASSIGNED TO MAGISTRATE Lartms for pretrial proceedings.
—__—. Estimated trialtime: ss days ( }SHORT ( )MEDIUM { )LONG

CONSENT TO PRESENTENCE iNVESTIGATION filed. Referred to USPO for PSI and continued until

at for sentencing.

{ See other side.
Case 1:21-cr-00451-WMR-JKL Document 112 Filed 01/27/22 Page 2 of 2
Vikas Mebkto . Defendant

Government MOTION FOR DETENTION filed. Hearing set for at
Temporary commitment issued.

Defendant to remain on pretrial release under the terms and conditions set forth in the U. S District Court for the

District of
BOND/PRETRIAL DETENTION HEARING

_____ BOND/PRETRIAL DETENTION hearing held.
_____ MOTION FOR REDUCTION OF BOND hearing held.

_____ MOTION FOR REDUCTION OF BOND ( ) GRANTED ( ) DENIED
___ WRITTEN ORDER TO FOLLOW.

____ GOVERNMENT MOTION FOR DETENTION ( ) GRANTED ( ) DENIED
___ WRITTEN ORDER TO FOLLOW,

______ BOND SET AT $
_..___ Non-surety

_.__ surety ( } Cash ( ) Property ( } Corporate surety ONLY
___ SPECIAL CONDITIONS:

Bond Filed: defendant released.
Bond NOT EXECUTED defendant to remain in Marshal's custody.

SENTENCE :

v Order

Pursuant to the Due Process Protections Act, see Fed. R. Crim. P. 5(f), the government is directed to adhere to
the disclosure obligations set forth in Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and to provide all materials
and information that are arguably favorable to the defendant in compliance with its obligations under Brady; Giglio
v. United States, 405 U.S. 150 (1972); and their progeny. Exculpatory material as defined in Brady and Kyles v.
Whitley, 314 U.S. 419, 434 (1995), shall be provided sufficiently in advance of trial to allow a defendant to use it
effectively, and exculpatory information is not limited to information that would constitute admissible evidence.

The failure of the government to comply with its Brady obligations in a timely manner may result in serious
consequences, including, but not limited to, the suppression or exclusion of evidence, the dismissal of some or all!
counts, adverse jury instructions, contempt proceedings, or other remedies that are just under the circumstances.
